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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION


 M.D., b/n/f Sarah R. Stukenberg, et al., §
                                         §
         Plaintiffs,                     §
 v.                                      §
                                         §
                                                      Civil Action No. 2:11-CV-00084
 GREG ABBOTT, in his official capacity   §
 as Governor of the State of Texas, et
                                         §
 al.,
                                         §
                                         §
         Defendants.



Update to the Court on the Prevalence of PMC Children Without Placement
                    and Out of State Facility Placement



According to DFPS data and information, the total number of unduplicated PMC youth
housed in a CWOP setting by the State between January 1, 2023 and December 31, 2023
is 556. The average number of PMC children without placement per night in December
2023 was 41, down from 44 in November 2023. The number of unique children without
placement in December 2023 was 79.


                                               Average
                          Number of                         Percent     Average
                                              number of
                       unique children                      Change      children
                                               children
      Month      CY        without                           from       per night
                                                without
                        placement per                        Prior       over 6
                                              placement
                            month                           Month        months
                                               per night
 December       2023         79                    41         -7%
 November       2023         78                  44           -8%           56
 October        2023         116                 48           -23%
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September   2023        121              62           -6%
August      2023        137              66           -11%
July        2023        146              74           25%
June        2023        136              59           -6%
May         2023        141              63            0%
April       2023        130              63            0%
                                                                   60
March       2023        146              63            9%
February    2023        114              58           14%
January     2023        121               51          21%
December    2022        106              42           -28%
November    2022        125              58           -6%
October     2022        141              62           19%
                                                                   56
September   2022        138              52           -10%
August      2022        143              58           -8%
July        2022        133              63           -10%
June        2022        158              70           13%
May         2022        148              62            3%
April       2022        132              60           -2%
                                                                   62
March       2022        134               61           3%
February    2022        130              59           -2%
January     2022        141              60            3%
December    2021        139              58           -25%
November    2021        152               77          -9%
October     2021        174              85           -18%
                                                                   89
September   2021        209              104          12%
August      2021        208              93           -18%
July        2021        210              114           8%
June        2021        218              106          26%
May         2021        183               84          35%
April       2021        158               62          24%
                                                                   61
March       2021        147               50          19%
February    2021        112               42          83%
January     2021        84                23          64%
             202
December                69                14           0%          56
               0
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            202
November                59                14          17%
              0
            202
October                 62                12          71%
              0
            202
September               42                7           75%
              0
            202
August                  25                4            0%
              0
            202
July                    27                4           100%
              0
            202
June                    18                2           -33%
              0
            202
May                     19                3           -25%
              0
            202
April                   18                4         Baseline       56
              0
